928 F.2d 1133
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Veronica H. STRIBNY, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 90-1816.
    United States Court of Appeals, Sixth Circuit.
    March 21, 1991.
    
      E.D.Mich., No. 89-10090;  Churchill, J.
      E.D.Mich.
      AFFIRMED.
      Before KEITH and DAVID A. NELSON, Circuit Judges, and BAILEY BROWN, Senior Circuit Judge.
    
    ORDER
    
      1
      Veronica H. Stribny appeals the district court's decision affirming the Secretary's denial of social security disability benefits.  This case has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination of the briefs and the record, this panel unanimously agrees that oral argument is not needed.  Fed.R.App.P. 34(a).  All counsel of record have waived oral argument.
    
    
      2
      Stribny filed an application for social security disability benefits with the Secretary, alleging that she suffered from knee and hip problems.  Following a hearing, the administrative law judge (ALJ) determined that Stribny was not disabled, because she had the residual functional capacity to perform a significant number of jobs in the regional and national economy.  The Appeals Council affirmed the ALJ's determination.
    
    
      3
      Stribny then filed a complaint seeking review of the Secretary's decision.  The district court ruled that substantial evidence existed to support the Secretary's determination and granted summary judgment for the defendant.  Stribny has filed a timely appeal.
    
    
      4
      Upon review, we determine that substantial evidence exists to support the Secretary's decision.    Brainard v. Secretary of Health and Human Services, 889 F.2d 679, 681 (6th Cir.1989).
    
    
      5
      Accordingly, we affirm the district court's judgment for the reasons set forth in the district court's opinion filed on July 3, 1990.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    